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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    )
 MICHAEL MEYERS, et al.,                            )
                                                    )
        Plaintiffs,                                 )
                                                    )    Lead Case No. 1:23-cv-12513-LTS
 v.                                                 )
                                                    )
 BHI ENERGY SERVICES, LLC, et al.,                  )
                                                    )
        Defendants.
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )

                          JOINT STIPULATION TO STAY
                 CASE DEADLINES PENDING UPCOMING MEDIATION

       Plaintiffs Michael Meyers, Daniel Muske, Gary Kaplan, Kim Wever, Joshua Pyfrom,

Richard Deschamps, Lashawntae Washington, and Ted Melton (collectively, “Plaintiffs”) and

Defendants BHI Energy Services, LLC and BHI Energy I Specialty Services, LLC (collectively,

“Defendants”) hereby agree and stipulate that case deadlines be temporarily stayed pending a

mediation scheduled for May 7, 2024. In support of this Joint Stipulation, the parties state as

follows:

       1.       On October 24, 2023, Plaintiff Richard Rose (“Plaintiff”) filed a Class Action

Complaint against Defendants (the “Rose Complaint”). Doc. No. 1.

       2.       On October 26, 2023, Defendants were served with a Summons and copy of the

Rose Complaint. Doc. No. 9.

       3.       Five substantially similar putative class action lawsuits were subsequently filed

against Defendants in this District. See Pyfrom v. BHI Energy Services, LLC, et al., No. 1:23-cv-

12532-RWZ (D. Mass. filed Oct. 25, 2023); Deschamps v. BHI Energy Services, LLC, et al., No.


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1:23-cv-12555-RGS (D. Mass. filed Oct. 27, 2023); Washington v. BHI Energy Services, LLC, et

al., No. 1:23-cv-12577-LTS (D. Mass. filed Oct. 27, 2023); Kaplan, et al. v. BHI Energy Services,

LLC, et al., No. 1:23-cv-12589-LTS (D. Mass. filed Oct. 30, 2023); Wever, et al. v. BHI Energy

Services, LLC, et al., No. 1:23-cv-12626 (D. Mass. filed Oct. 31, 2023).

       4.       Following a motion by Plaintiffs, the Court consolidated the related actions,

designated the Rose action as the “Lead Case,” and appointed Interim Class Counsel and Interim

Liaison Counsel. Doc. No. 16.

       5.       Thereafter, the Court entered an Order setting an initial case schedule for the

consolidated action, which provided deadlines for (a) Plaintiffs to file a Consolidated Class Action

Complaint, (b) Defendants to respond to the Consolidated Class Action Complaint, and (c) for

briefing on any motions to dismiss or similar motions filed by Defendants in response to the

Consolidated Class Action Complaint. Doc. No. 23.

       6.       Pursuant to the case schedule, Plaintiffs filed a Consolidated Class Action

Complaint on December 23, 2023. Doc. No. 24.

       7.       On January 29, 2024, Defendants filed a Motion to Dismiss Plaintiffs’ Consolidated

Class Action Complaint (Doc. No. 26) and a Motion to Strike Class Action Allegations from

Plaintiffs’ Consolidated Class Action Complaint (Doc. No. 29). Under the current case schedule,

Plaintiffs’ oppositions to Defendants’ motions are due on or before March 14, 2024.

       8.       During the Local Rule 7.1(a)(2) meet and confer preceding the filing of Defendants’

motions, the parties discussed the possibility of settlement talks and the exchange of informal

discovery to facilitate a potential early resolution of the case.

       9.       The parties have now scheduled an in-person formal mediation to take place in

Chicago, Illinois on May 7, 2024, with JAMS mediator, the Hon. Wayne R. Andersen.




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       10.     To conserve the resources of the Court and the parties, the parties agree and jointly

request that the case and all litigation deadlines, including Plaintiffs’ right to amend their

complaint, be temporarily stayed to allow time for the parties to exchange information and

participate in the May 7, 2024 mediation session.

       11.     Because cases of this complexity often are not resolved within a single day of

mediation, the parties agree and jointly propose that the case be stayed pending their submission

of a joint report on the status of their mediation efforts, to be submitted by May 21, 2024, 14 days

after the mediation takes place.

       12.     In the event the mediation is unsuccessful in resolving the consolidated actions, the

parties agree to submit a proposed case schedule with their May 21, 2024 joint status report, which

will set forth relevant deadlines, including deadlines to complete briefing on Defendants’ Motion

to Dismiss Plaintiffs’ Consolidated Class Action Complaint (Doc. No. 26) and Motion to Strike

Class Action Allegations from Plaintiffs’ Consolidated Class Action Complaint (Doc. No. 29) (i.e.,

for Plaintiffs to file responses in opposition to the motions and for Defendants to file replies in

support of the motions) and/or, as applicable, deadlines for Plaintiffs to file an Amended

Consolidated Class Action Complaint and for Defendants to respond to any such Amended

Consolidated Class Action Complaint.




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       13.    WHEREFORE, the parties respectfully request that the Court endorse and

approve this Joint Stipulation by temporarily staying all litigation deadlines and entering the

following schedule:

              (a)     All deadlines currently pending in these Consolidated Actions shall be
                      stayed pending the parties’ scheduled mediation;

              (b)     The parties shall file a joint status report and update on their mediation
                      efforts by May 21, 2024; and

              (c)     In the event the mediation is unsuccessful in resolving the claims, the parties
                      shall submit an agreed-upon proposed case schedule, which shall include
                      deadlines: (1) for the completion of the briefing on Defendants’ Motion to
                      Dismiss the Consolidated Class Action Complaint and Motion to Strike
                      Class Allegations from Plaintiffs’ Consolidated Class Action Complaint;
                      and/or, if applicable, (2) for Plaintiffs to file an Amended Consolidated
                      Class Action Complaint and for Defendants’ to respond to any such
                      Amended Consolidated Class Action Complaint.



SO ORDERED:

Dated: _________________                                     ______________________________
                                                             Hon. Leo T. Sorokin
                                                             United States District Judge




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Respectfully submitted,                        Respectfully submitted,
PLAINTIFFS,                                    BHI ENERGY SERVICES, LLC and
By their attorneys,                            BHI ENERGY I SPECIALTY SERVICES,
                                               LLC

                                               By their attorneys,


/s/ A. Brooke Murphy                           /s/ Robert W. Sparkes, III
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        The undersigned hereby certifies that counsel for the Parties have conferred regarding the

issues presented in this joint stipulation and all Parties have assented to the relief requested herein.




                                                       /s/ A. Brooke Murphy
                                                       A. Brooke Murphy




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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on February 9, 2024.




                                                    /s/ A. Brooke Murphy
                                                    A. Brooke Murphy




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